       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 1 of 29




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                            Case No.: 0:20-cv-01241 (WMW/HB)


 Patricia Freeman, on behalf of herself and
 all others similarly situated,
                                                  AMENDED CLASS ACTION
              Plaintiff,                          COMPLAINT

       vs.

 Ally Financial Inc. d/b/a Ally Financial,
 Resolvion, LLC, and 11th Hour Recovery, JURY TRIAL DEMANDED
 Inc.,

              Defendants.


                    AMENDED CLASS ACTION COMPLAINT

      1.     Plaintiff Patricia Freeman hereby amends her Complaint [ECF. 1] pursuant

to Rule 15(a)(1)(B) of the Federal Rules of Civil Procedure.

      2.     Plaintiff Patricia Freeman brings this consumer class action alleging

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”);

Article 9 of the Minnesota Uniform Commercial Code, Minn. Stat. § 336.9-101, et. seq.

(“UCC”); and Minnesota Common Law.

                              JURISDICTION AND VENUE

      3.     This Court has jurisdiction under 15 U.S.C. § 1692k and 28 U.S.C. §§ 1331

and 1367. Venue in this Judicial District is proper under 28 U.S.C. § 1391(b) because:

Plaintiff resides in this Judicial District; Defendants transact business in this Judicial

District; Defendant Ally is registered to do business in Minnesota; Defendant 11th Hour



                                              1
         CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 2 of 29




Recovery, Inc. is located in this Judicial District; and the events or conduct giving rise to

the claims occurred in this Judicial District.

                                              PARTIES

        4.         Plaintiff is a natural person, and citizen of the State of Minnesota.

        5.         Defendant Ally Financial Inc. d/b/a Ally Financial (“Ally”) is a Michigan

corporation with its principal place of business located at 200 Renaissance Center, Detroit,

MI 48265. Ally is registered to do business in Minnesota under the assumed name Ally

Financial. CT Corporation System, Inc. is the registered agent authorized to accept service

on behalf of Ally at 100 South Fifth Street, Suite 1075, Minneapolis, MN 55402.

        6.         Defendant Resolvion, LLC (“Resolvion”) is a Delaware limited liability

company. Resolvion is registered to do business in Georgia with its principal place of

business located at 1150 Lake Hearn Drive, Suite 640, Atlanta, GA 30342. Corporation

Service Company is the registered agent authorized to accept service at 40 Technology

Parkway South, Suite 300, Norcross, GA 30092. Resolvion previously operated as ALS

Resolvion. Resolvion changed its name in February 2020.

        7.         Resolvion’s services include vehicle repossession, asset location, and other

collateral recovery.

        8.         Resolvion offers repossession management services to financial institutions

across the nation – also known as repossession “forwarding.”

        9.         Resolvion is “laser-focused” on producing the best vehicle recovery results

for its clients.

        10.        Resolvion is engaged in a business, the principal purpose of which is the


                                                   2
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 3 of 29




enforcement of security interests.

       11.       Resolvion regularly enforces or attempts to enforce security interests for

other parties.

       12.       Defendant 11th Hour Recovery, Inc. (“11th Hour”) is a Minnesota

corporation with its registered office located at 1305 159th Avenue Northeast, Ham Lake,

MN 55304. Alex Peterson and Amanda Peterson are the registered agents authorized to

accept service on behalf of 11th Hour. The principal executive office for 11th Hour is

located at 14525 Drake Street Northwest, Andover, MN 55304.

       13.       11th Hour employs well trained professional recovery agents.

       14.       11th Hour and its staff are asset repossession exerts.

       15.       11th Hour is engaged in a business, the principal purpose of which is the

enforcement of security interests.

       16.       11th Hour regularly enforces or attempts to enforce security interests for

other parties.

       17.       Resolvion and 11th Hour regularly use the mail, roads, and telephone in

connection with the enforcement of security interests by operating tow truck vehicles and

transporting repossessed vehicles; engaging in telephone conversations with consumers

regarding repossession and repossession fees; telephone calls with creditors and auction

companies; and mailing correspondence, invoices, statements, notices, and reports to

creditors and auction companies.

       18.       Federal court records indicate that Resolvion and 11th Hour have been sued

on multiple occasions under the FDCPA.


                                                3
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 4 of 29




       19.    For purposes of 15 U.S.C. § 1692f(6), Resolvion and 11th Hour are “debt

collectors” as defined in the FDCPA. See 15 U.S.C. § 1692a(6).

       20.    Resolvion and 11th Hour were acting as debt collectors with respect to

Plaintiff and the security interests referenced in this Complaint.

                               NATURE OF THE ACTION

MINNESOTA LAW - THE “COBB” NOTICE

       21.    When a secured party has repeatedly accepted late and/or partial payments

from the debtor over the course of a loan, the secured party must notify the debtor that strict

compliance with the contract terms will be required before the secured party can lawfully

repossess the collateral. See Cobb v. Midwest Recovery Bureau Co., 295 N.W.2d 232,

236–37 (Minn. 1980).

       22.    The notice which a secured party is required to send to a consumer is referred

to as a “Cobb notice.” See Buzzell v. Citizens Auto. Finance, Inc., 802 F. Supp. 2d 1014,

1021 (D. Minn. 2011).

       23.    The secured party must notify the debtor that “strict compliance with the time

for payment” will be required “in the future.” See Cobb, 295 N.W.2d at 236 (citing cases)

(emphasis added).

       24.    The secured party must notify the debtor that late payments will no longer be

accepted. See Cobb, 295 N.W.2d at 237.

       25.    In addition to the notification of “strict compliance,” the Cobb notice must

include: (a) the amount past due; (b) the deadline to pay the due balance; and (c) the




                                              4
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 5 of 29




consequences for failure to comply. See Akerlund v. TCF Nat’l Bank of Minnesota, No.

0:99-cv-01537 (MJD/JGL), 2001 WL 1631440, at *5 (D. Minn. 2001) (citations omitted).

       26.   The Cobb notice must be in writing. See Buzzell, 802 F. Supp. 2d at 1021

n.7 (citing cases) (Cobb cases “contemplate notice being given in the form of a letter.”);

see also Hendrickson v. Fifth Third Bank, No. 0:18-cv-00086 (WMW/TNL), 2019 WL

652417, at *2 (D. Minn. Feb. 15, 2019) (citing Cobb, 295 N.W.2d at 237) (describing the

Cobb requirement as “written notice”).

       27.   Where a secured party has repeatedly accepted late and partial payments

from the debtor over the course of a loan and has failed to send the requisite Cobb notice,

repossession is wrongful as a matter of law. See Buzzell, 802 F. Supp. 2d at 1024.

       28.   At all times relevant to this Complaint, Ally did not have any polices or

procedures in place of providing Minnesota consumers with the proper and requisite strict

compliance notice (i.e., Cobb notice) under Minnesota law.

       29.   At all times relevant to this Complaint, Ally failed to provide Minnesota

consumers with the proper and requisite Cobb notice prior to repossessing said consumers’

vehicles.

                            FACTUAL ALLEGATIONS
                      (Experience of the Representative Plaintiff)

THE MINNESOTA SECURITY AGREEMENT

       30.   In June 2015, Plaintiff purchased a 2013 Hyundai Elantra (the “Vehicle”).

       31.   The Vehicle was a “consumer good” under Minn. Stat. § 336.9-102(a)(23)

because Plaintiff bought and used the Vehicle for personal, family, or household purposes.



                                            5
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 6 of 29




       32.    In connection with purchasing the Vehicle, Plaintiff entered into a retail

installment contract (the “Agreement”).

       33.    The Agreement was contemporaneously assigned to Ally.

       34.    Under the terms of the Agreement: (a) Plaintiff obtained a loan from Ally to

finance the purchase of the Vehicle; (b) Plaintiff granted Ally a security interest in the

Vehicle to secure repayment of the loan Ally issued to Plaintiff; (c) Plaintiff was required

to make 60 monthly installment payments in the amount of $227.05; (d) the principal

amount of the obligation was $9,905.62; and (e) the credit service charge was $3,217.38.

       35.    The Agreement was a “security agreement” under Minn. Stat. § 336.9-

102(a)(74) because it provided for a security interest to Ally. Therefore, Ally was a

“secured party” as defined under Minn. Stat. § 336.9-102(a)(73).

       36.    Because Plaintiff’s obligations under the Agreement were incurred for

personal, family, or household purposes: (a) Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1692a(3) and/or a person affected by a violation of the FDCPA; (b)

Plaintiff was a “consumer debtor” as that term is defined by Minn. Stat. § 336.9-102(a)(22);

(c) the Agreement was a “consumer goods transaction” under Minn. Stat. § 336.9-

102(a)(24); and (d) Plaintiff’s obligation under the Agreement was a “debt” as defined by

15 U.S.C. § 1692a(5).

CONTINUOUS ACCEPTANCE OF LATE PAYMENTS

       37.    As early as October 2015, Plaintiff began to repeatedly fall behind on her

monthly payments under the Agreement.

       38.    Throughout the course of the Agreement, Plaintiff made numerous, late,


                                             6
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 7 of 29




partial, and/or irregular payments (collectively, “Late Payments”) to Ally.

       39.    Ally always accepted Plaintiff’s Late Payments.

       40.    Ally never rejected any Late Payments from Plaintiff.

       41.    Ally never returned any Late Payments to Plaintiff.

       42.    After accepting the Late Payments from Plaintiff, Ally failed to send

Plaintiff: (a) a Cobb notice; (b) a notice mentioning or requiring strict compliance with the

original terms of the Agreement; (c) a notice mentioning or warning that no additional Late

Payments would be accepted in the future; (d) a notice mentioning repossession; or (e) a

notice warning Plaintiff that the Vehicle may be repossessed.

       43.    Plaintiff never received: (a) a Cobb notice; (b) a notice mentioning or

requiring strict compliance with the original terms of the Agreement; (c) a notice

mentioning or warning that no additional Late Payments would be accepted in the future;

(d) a notice mentioning repossession; or (e) a notice warning Plaintiff that the Vehicle may

be repossessed.

       44.    Throughout the course of the Agreement, Ally sent Plaintiff regular late

notices (collectively, “Late Notices”).

       45.    The Late Notices did not mention: (a) strict compliance with the Agreement;

(b) repossession; (c) that additional Late Payments would no longer be accepted; nor (d)

any other Cobb notice language.

       46.    The Late Notices indicated that Ally would continue to accept additional Late

Payments.

       47.    Ally sent Late Notices to Plaintiff on November 30, 2015; March 1, 2016;


                                             7
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 8 of 29




May 1, 2016; June 30, 2016; November 30, 2016; May 31, 2017; September 8, 2017; April

2, 2018; July 31, 2018; December 6, 2018; and March 3, 2019.

      48.     The Late Notices had identical language.

      49.     Plaintiff made Late Payments after each Late Notice.

      50.     Ally always accepted Late Payments after sending a Late Notice to Plaintiff.

      51.     On March 3, 2019, Ally sent Plaintiff a Late Notice stating that Plaintiff

needed to pay by March 16, 2019.

      52.     On March 19, 2019, Plaintiff made a Late Payment to Ally which Ally

accepted.

      53.     Throughout the Agreement, Ally allowed Plaintiff to fall behind on the

monthly payments and remain behind without requiring strict compliance with the terms

of the Agreement.

      54.     Ally never insisted upon strict compliance with the payment due date.

      55.     Ally was required to send Plaintiff a Cobb notice after the acceptance of

every single Late Payment. See Cobb, 295 N.W.2d at 237; see also Buzzell, 802 F. Supp.

2d at 1022.

      56.     Ally failed to send Plaintiff any Cobb notice, let alone a Cobb notice after its

acceptance of each Late Payment from Plaintiff.

DEFENDANTS’ UNLAWFUL REPOSSESSION

      57.     At all relevant times, Plaintiff resided at The Grainwood apartment complex,

a senior living facility in Prior Lake, Minnesota (“Grainwood”).

      58.     At Grainwood, Plaintiff had a personal parking space in a secured and locked


                                              8
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 9 of 29




garage. The garage was only accessible with an electronic garage door opener or an

electronic key fob, which Grainwood issued to Plaintiff and other residents. Inside the

garage was a garage door opener to manually open door.

       59.    Grainwood limited access to the garage solely to Plaintiff and other residents.

Such access was granted as part of the monthly rent, including an additional payment of

$60.00, which Plaintiff paid to Grainwood.

       60.    The main entrance to Grainwood was locked and only accessible to

authorized persons, including residents and Grainwood personnel, by use of an electronic

key fob.

       61.    On or around June 5, 2019, Plaintiff’s Vehicle was located in her personal

parking space inside Grainwood’s garage, which was secured, locked, and could only be

accessed using a key fob or an electronic garage door opener.

       62.    On or around June 5, 2019, Ally hired, engaged, or sought the assistance of

Resolvion to acquire Plaintiff’s Vehicle through self-help repossession.

       63.    Thereafter, Resolvion hired, engaged, and/or sought the assistance of 11th

Hour to perform the actual self-help repossession on behalf Resolvion and/or Ally.

       64.    On or around June 5, 2019, Ally, Resolvion, or 11th Hour informed the police

that it would be repossessing Plaintiff’s Vehicle and that Defendants were lawfully able to

possess Plaintiff’s Vehicle.

       65.    On or around June 5, 2019, 11th Hour gained unauthorized access to the

garage by breaking into the garage through trickery, deceit, misrepresentations, lies, and

fraud. Alternatively, 11th Hour gained unauthorized access to the garage by breaking into


                                             9
          CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 10 of 29




the garage through forcible entry.

       66.     After breaking into the garage, one of 11th Hour’s repossession agents

opened the garage through the inside garage door opener in order to provide access for 11th

Hour’s tow truck.

       67.     Defendants never had authorization to enter Grainwood’s garage.

       68.     Defendants never had authorization to bring a tow truck in the Grainwood

garage.

       69.     On or around June 5, 2019, 11th Hour repossessed Plaintiff’s Vehicle at the

request of Resolvion and/or Ally.

       70.     11th Hour breached the peace during the repossession because 11th Hour

unlawfully trespassed onto private, secured, and locked property.

       71.     11th Hour breached the peace during the repossession because 11th Hour

gained unauthorized access to the garage by breaking and entering into the garage through

trickery, deceit, misrepresentations, lies, and fraud; or alternatively, by breaking into the

garage through forcible entry.

       72.     11th Hour’s actions on June 5, 2019, as described above, were taken on

behalf of Ally and/or Resolvion.

       73.     On June 6, 2019, Plaintiff noticed the Vehicle was missing.          Plaintiff

contacted the police, who informed Plaintiff that the Vehicle had been repossessed and

referred Plaintiff to Resolvion.

       74.     Between June 6, 2019 and June 7, 2019, Plaintiff contacted Defendants

regarding the release of her Vehicle. Plaintiff was bounced around between the three


                                             10
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 11 of 29




Defendants.

       75.    On June 7, 2019, Plaintiff informed Resolvion that the repossession of her

Vehicle was wrongful and illegal, and she demanded that Resolvion release the Vehicle.

       76.    Resolvion refused to release the Vehicle.

       77.    On June 19, 2019, Plaintiff informed 11th Hour that the repossession of

Plaintiff’s Vehicle was wrongful and illegal, and demanded that 11th Hour release the

Vehicle.

       78.    11th Hour refused to release the Vehicle.

       79.    On June 25, 2019, Plaintiff informed Ally that the repossession of Plaintiff’s

Vehicle was wrongful and illegal, and demanded that Ally release the Vehicle.

       80.    Ally refused to release the Vehicle.

       81.    In July 2019, Plaintiff again informed Ally that the repossession of Plaintiff’s

Vehicle was wrongful and illegal, and demanded that Ally release the Vehicle.

       82.    Ally again refused to release the Vehicle.

       83.    Plaintiff was shocked and surprised by Defendants’ conduct because Ally

had always accepted Late Payments from Plaintiff.

       84.    Since the beginning of the Agreement almost every payment from Plaintiff

to Ally had been a Late Payment.

       85.    Ally accepted Late Payments from Plaintiff even though Plaintiff was

multiple months past due.

       86.    In June 2019, Ally knew that: (a) it had repeatedly accepted Late Payments

from Plaintiff; (b) it had not sent Plaintiff a Cobb notice after accepting her Late Payments;


                                             11
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 12 of 29




and (c) it was required to send Plaintiff a Cobb notice prior to repossessing the Vehicle.

       87.    Ally knew that it was required to send Plaintiff a Cobb notice after the

acceptance of every single Late Payment because it had been sued before for the same

violation. See e.g., Zeglin v. Ally Financial, Inc., et. al., No. 0:16-cv-02515 (DSD/SER)

[ECF. 50] at ¶¶ 23-27, 42-43, 67-69 (D. Minn. May. 3, 2017); Shell v. Ally Financial, Inc.,

et. al., No. 0:17-cv-00137 (SRN/DTS) [ECF. 1], ¶¶ 71-81, 100-110 (D. Minn. Jan. 16,

2017); Ebrahem v. Ally Financial, Inc., et. al., No. 0:17-cv-04483 (DWF/FLN) [ECF. 14],

¶¶ 20-30, 73-74 (D. Minn. Jan. 5, 2018).

       88.    Defendants illegally and wrongfully repossessed Plaintiff’s Vehicle.

       89.    Ally failed to return Plaintiff’s Late Payments.

       90.    Ally sold the Vehicle and retained the proceeds.

       91.    At all times, Resolvion was acting as an agent for Ally, acting on Ally’s

behalf, and acting at Ally’s request and instruction.

       92.    Resolvion represented to Plaintiff and to third parties that it was acting on

behalf of Ally.

       93.    At all times, 11th Hour was acting as an agent for Ally and/or Resolvion,

acting on behalf of Ally and/or Resolvion, and acting at the request and instruction of Ally

and/or Resolvion.

       94.    11th Hour represented to Plaintiff and to third parties that it was acting on

behalf of Ally and Resolvion.

       95.    Defendants knew or reasonably should have known that each of the

Defendants had been sued in the past for wrongful repossession and violations of the


                                             12
         CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 13 of 29




FDCPA.

         96.    Defendants’ actions were ratified and/or authorized because: (a) any

Defendant could have released the Vehicle; (b) Defendants refused to release the Vehicle;

(c) Defendants refused to return the Vehicle to Plaintiff without the payment of money; (d)

Ally accepted Plaintiff’s Late Payments, including the last Late Payment; (e) Ally accepted

and retained the Vehicle from 11th Hour and Resolvion after repossession; (f) Resolvion

accepted and retained the Vehicle from 11th Hour after repossession; (g) Ally and

Resolvion worked together to auction and sell the Vehicle; (h) Ally sold the Vehicle and

retained the profits; and (i) any Defendant could have prevented the repossession by

performing even a cursory review of the data, as opposed to blankly relying on unreliable

and inaccurate electronic data.

DAMAGE, HARM, AND INJURIES

         97.    Plaintiff has suffered actual damages, tangible injuries, and intangible

injuries as a result of Defendants’ unlawful and wrongful repossession.

         98.    Since the repossession Ally has been reporting the repossession to credit

reporting agencies, commonly referred to as “credit bureaus.”

         99.    According to Experian, vehicle repossession negatively affects a consumer’s

credit     score.       See   Repossession     (December     24,    2016,    2:12    p.m.),

http://www.experian.com/blogs/ask-experian/category/credit-advice/report-advice/report-

details/repossession.

         100.   Ally’s report of the wrongful repossession on Plaintiff’s credit report

negatively impacted Plaintiff’s credit score. As a result of the credit report, Ally impeded


                                             13
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 14 of 29




Plaintiff’s ability to obtain lower-cost credit, to obtain other loans, to find a job, and to find

housing.

       101.    Defendants stole and converted Plaintiff’s property.

       102.    Defendants’ conduct interfered with, interrupted, invaded, and deprived

Plaintiff’s use, possession, and enjoyment of her personal property, specifically the

Vehicle.

       103.    All of Plaintiff’s above-referenced injuries—both tangible and intangible—

are actual, concrete injuries that are widely recognized by the United States Supreme Court,

United States Court of Appeals for the Eighth Circuit, and the United States District Court

for the District of Minnesota.

                            CLASS ACTION ALLEGATIONS

       104.    Plaintiff brings this action on behalf of herself and on behalf of all other

persons similarly situated, and seeks to certify the following Classes:

       a. Repossession Class:

       All Minnesota consumers whose vehicles were repossessed by or on behalf of Ally,
       within four (4) years of the filing of the original Complaint, and who made two or
       more late or partial payments on their vehicle(s) that were accepted by Ally, and
       who, thereafter, were not sent a strict compliance/Cobb notice prior to the
       repossession of their vehicle.

       b. Repossession Subclass - Resolvion:

       All members of the Repossession Class whose vehicles were repossessed by or on
       behalf of Resolvion, within four (4) years of the filing of the original Complaint, and
       who made two or more late or partial payments on their vehicle(s) that were
       accepted by Ally, and who, thereafter, were not sent a strict compliance/Cobb notice
       prior to the repossession of their vehicle.

       c. Repossession Subclass – 11th Hour:


                                               14
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 15 of 29




       All members of the Repossession Class whose vehicles were repossessed by or on
       behalf of 11th Hour, within four (4) years of the filing of the original Complaint,
       and who made two or more late or partial payments on their vehicle(s) that were
       accepted by Ally, and who, thereafter, were not sent a strict compliance/Cobb notice
       prior to the repossession of their vehicle.

       d. FDCPA Subclass - Resolvion:

       All members of the Repossession Class whose vehicles were repossessed by or on
       behalf of Resolvion, within one (1) year of the filing of the original Complaint, and
       who made two or more late or partial payments on their vehicle(s) that were
       accepted by Ally, and who, thereafter, were not sent a strict compliance/Cobb notice
       prior to the repossession of their vehicle.

       e. FDCPA Subclass – 11th Hour:

       All members of the Repossession Class whose vehicles were repossessed by or on
       behalf of 11th Hour, within one (1) year of the filing of the original Complaint, and
       who made two or more late or partial payments on their vehicle(s) that were
       accepted by Ally, and who, thereafter, were not sent a strict compliance/Cobb notice
       prior to the repossession of their vehicle.

       105.   The Repossession Class, Repossession Subclass (Resolvion), Repossession

Subclass (11th Hour), FDCPA Subclass (Resolvion), and FDCPA Subclass (11th Hour)

(collectively the “Classes” or “Class”) shall be subject to the following exclusions, who

are not members of the Classes, notwithstanding eligibility according to the above criteria:

all (1) Counsel for Plaintiff and the Classes, (2) Counsel for Defendants, (3) the assigned

Judge, Magistrate Judge, and their clerks and staff, (4) Minnesota consumers whose

account balances with Ally were discharged in bankruptcy prior to the repossession.

       106.   During the class time-periods alleged herein, Ally did not have a policy and

procedure in place of sending proper legal notice(s) to Plaintiff and the putative Classes.

Based upon established policy and practice, Ally regularly repossessed the vehicles

belonging to Plaintiff and the Classes without sending proper legal notice.


                                            15
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 16 of 29




       107.   As a result of Defendants’ failure to comply with Minnesota law, Ally did

not have a present right to possess the property belonging to Plaintiff and the Classes in

violation of Minn. Stat. § 336.9-609.

       108.   During the class time-period alleged herein, Resolvion and 11th Hour, on

behalf of Ally, regularly repossessed vehicles belonging to Plaintiff and the Classes.

       109.   During the class time-period alleged herein, Resolvion and 11th Hour did not

have a policy and procedure in place to verify that, before it engaged in repossession

activity, co-Defendant Ally had sent the proper legal notice(s) to the Plaintiff and the class

members.

       110.   As a result of Defendants’ failure to comply with Minnesota law, Resolvion

and 11th Hour did not have a present right to possess the property belonging to Plaintiff

and the class members in violation of 15 U.S.C. § 1692f(6).

       111.   This action has been brought as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure because the Classes satisfy the numerosity, commonality,

typicality, adequacy, predominance, and superiority requirements under Fed. R. Civ. P.

23(a) and (b) for class certification.

Rule 23(a)(1) - Numerosity

       112.   Ally is “one of the largest full-service automotive finance operations in the

country and offer a wide range of financial services and insurance products to automotive

dealerships      and      consumers.”       See      About      Us:      Our       Company,

https://www.ally.com/about/company-structure (Jan. 7, 2020, 8:03 p.m.). Over “8,000,000

people” use Ally for their bank, auto, other financial needs. Id; see also About Us: Our


                                             16
          CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 17 of 29




Company: Ally Auto, https://www.ally.com/about/company-structure/ally-auto.html (Jan.

7, 2020, 8:10 p.m.) (“Ally is one of the largest providers of automotive financing in the

U.S.”).

          113.   Ally provides financing to a large number of Minnesota consumers to

purchase vehicles. Of these Minnesota consumers, many have fallen behind on their

monthly automobile loan payments, and make late, partial, or irregular payments to Ally.

Ally repeatedly accepted such late, partial, and irregular payments, and Minnesota

consumers never received a legally sufficient notice prior to the repossessions described

herein.

          114.   There are only a limited number of national repossession entities, and even

fewer number of local repossession entities. In addition, Ally only works with certain

repossession vendors that must be authorized and approved by Ally. Defendants are

authorized and approved vendors for Ally.

          115.   Ally entered into a contractual relationship with Resolvion wherein

Resolvion, on behalf of Ally, was to locate and repossess vehicles belonging to Plaintiff

and the class members. In exchange, Ally was to pay Resolvion for the services it provided

to Ally. As part of its contract, Resolvion was allowed to “forward” the repossession order

to a local repossession agent such as 11th Hour.

          116.   11th Hour entered into a contractual relationship with Ally and/or Resolvion,

wherein 11th Hour, on behalf of Ally and/or Resolvion, was to locate and repossess the

vehicles belonging to Plaintiff and class members’. In exchange, Ally and/or Resolvion

was to pay 11th Hour for the services it provided to Ally and/or Resolvion.


                                               17
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 18 of 29




       117.   Upon information and belief, the contractual arrangements between

Defendants are general service contracts pertaining to repossession activities on a

continuous or on-going basis. The contracts between Defendants pertain to a volume of

repossessions and not any one individual class member.

       118.   Pursuant to the on-going services contract, Defendants communicate with

each other and assign individual repossession assignments electronically through software

services such as the Recovery Database Network.          Defendants provide repossession

assignments to each other on a large volume scale pursuant to such on-going services

contracts.

       119.   Resolvion boasts as to over 25,000 successful repossessions each month.

Likewise, 11th Hour boasts that it leads the industry in recovery rates through cutting edge

technology.

       120.   The exact number of the class members is unknown at this time, but upon

information and reasonable belief, the estimated number is in excess of 100 consumers.

Thus, it is plausible that Ally failed to send Cobb notices to such a large number of

consumers that joinder of all in this lawsuit would be impracticable. Likewise, it is

plausible that Resolvion and 11th Hour repossessed such consumers’ vehicles that joinder

of all in this lawsuit would be impracticable

       121.   The exact number of class members as well as the identities of all class

members are readily ascertainable through appropriate discovery, including but not limited

to the business records of Defendants and the online accounts from Defendants’ website or

internal software.


                                            18
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 19 of 29




Rule 23(a)(2) - Commonality

       122.     Common questions of law and fact that exist as to Classes. These common

legal and factual questions include:

              a. Whether Ally repossessed the class members’ vehicles without a present
                 right to possess such vehicles;

              b. Whether Ally repossessed the class members’ vehicles without sending the
                 requisite Cobb notice after repeatedly accepting Late Payments from the
                 class members; and

              c. Whether Resolvion and 11th Hour used unfair or unconscionable means to
                 enforce a security interest against the class members by taking or
                 threatening to take certain nonjudicial action to effect dispossession of the
                 class members’ property, when Resolvion and 11th Hour had no present
                 right to possession of the property which they claimed as collateral through
                 an enforceable security interest.

       123.    The common evidence that will drive resolution of the claims for the Classes

is a list of Minnesota consumers: (a) who have made late, partial, and irregular payments

to Ally over the course of their loan; (b) which were accepted by Ally; (c) who were never

sent a legally sufficient Cobb notice from Ally after making the late payment; and (d) who

subsequently experienced a repossession or attempted repossession of their vehicle.

Rule 23(a)(3) - Typicality

       124.    Plaintiff’s claims are typical of the claims of all the other members of the

Classes because Plaintiff has the same claims to statutory relief and has suffered the same

injuries as all other class members. Likewise, Plaintiff’s claims are based on the same legal

theories as the claims of all the other members of the Classes.

       125.    The claims of Plaintiff and the class members originate from the same

conduct, practice, and procedure on the part of Defendants. Thus, the claims of each class


                                              19
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 20 of 29




member require proof of the same operative facts. Any defenses that Defendants may have

to liability or quantum of damages with respect to Plaintiff’s claims would be generally

applicable to all members of the Classes.

Rule 23(a)(4) - Adequacy

       126.   Plaintiff brings this lawsuit after an extensive investigation of Defendants’

alleged misconduct, with the intention to stop Defendants’ unlawful practices, and to

recover the same relief for all consumers affected.

       127.   Because Plaintiff has no interest adverse to or in conflict with the interests of

the members of the Classes, Plaintiff will fairly and adequately protect the interests of all

class members.

       128.   Plaintiff’s counsel, Adam R. Strauss, practices exclusively in consumer

protection with an emphasis on litigation concerning the FDCPA and wrongful

repossession matters under the Minnesota UCC. Plaintiff’s counsel has been certified as

class counsel in wrongful repossession class actions in the District of Minnesota, all of

which sought to enforce Minnesota consumers’ rights under Cobb and the Minnesota UCC.

       129.   Neither Plaintiff nor her counsel have any interest which might cause them

to not vigorously pursue the instant class action lawsuit. Plaintiff and her counsel are

committed to expending the time, energy, and resources necessary to successfully

prosecute this action on behalf of the Classes.

Rule 23(b) – Predominance/Superiority

       130.   A class action is appropriate because questions of law and fact common to

Plaintiff and the Classes substantially predominate over questions that may affect


                                             20
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 21 of 29




individual class members. Because all members of the Classes had their rights violated in

the same manner by the same actions of Defendants, the answer to these common questions

will advance the adjudication or resolution of the litigation as to all class members.

       131.   A class action is superior to all other available methods for the fair and

efficient adjudication of the controversies raised in this Complaint because the costs to

pursue individual claims would likely exceed what any one class member has at stake.

Thus, members of the Classes have little interest in controlling separate actions when

considering the cost, risk, delay, and uncertainty of recovery in prosecuting these claims.

       132.   The concentration of litigation of these claims in one forum will permit a

large number of similarly situated persons to prosecute their common claims efficiently,

without unnecessary duplication of effort and expense that individual actions would

engender, and therefore, promote judicial economy.

       133.   Statutory relief under the FDCPA and the Minnesota UCC follows from

evidence that Defendants repossessed the vehicles after accepting late payments from class

members as opposed to providing class members with a proper Cobb notice required under

Minnesota law—not the subjective or individual experience of any class member.

       134.   Whether Defendants violated the law can be determined by examination of

Defendants’ policies and conduct and a ministerial inspection of Defendants’ business

records.

       135.   Upon information and belief, few members of the Classes are aware that

Defendants’ actions were unlawful. Thus, the class notice mechanism provides an

opportunity for uninformed members of the Classes to learn about their rights and obtain


                                             21
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 22 of 29




relief where they otherwise would not have.

       136.     Plaintiff and her counsel are not aware of any other pending actions against

Ally related to their regular practice of unlawful repossessions and/or attempted

repossessions.

       137.     A class action is appropriate because the prosecution of separate actions for

individual class members creates a risk of inconsistent or varying adjudications which

could establish incompatible standards of conduct for the parties engaged in the provision

of enforcing security agreements.           Likewise, the prosecution of separate actions by

individual class members would, as a practical matter, be dispositive of the interests of

other members who are not parties to the action or could substantially impair or impede

their ability to protect their interests.

                               COUNT I
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                  (Defendants Resolvion and 11th Hour)

       138.     Plaintiff restates and re-alleges the preceding allegations of this Complaint.

       139.     Plaintiff brings Count I as a Class Action on behalf of herself, the FDCPA

Subclass (Resolvion), and the FDCPA Subclass (11th Hour) (collectively “FDCPA

subclasses”).

       140.     Resolvion and 11th Hour used unfair or unconscionable means to enforce a

security interest against Plaintiff and the FDCPA subclasses by taking or threatening to

take certain nonjudicial action to effect dispossession of the property belonging to Plaintiff

and the FDCPA subclasses when Resolvion and 11th Hour had no present right to

possession of the property, which they claimed as collateral through an enforceable security


                                                 22
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 23 of 29




interest.

       141.   Specifically, Resolvion and 11th Hour engaged in a self-help repossession of

vehicles belonging to Plaintiff and the FDCPA Subclasses without the present legal right

to possess and/or take the vehicles belonging to class members.

       142.   Resolvion and 11th Hour did not have the legal right to possess the vehicles

because Ally failed to send Plaintiff and the FDCPA Subclasses the proper Cobb notice

after Ally had repeatedly accepted Late Payments from such class members.

       143.   Resolvion’s and 11th Hour’s conduct violated 15 U.S.C. § 1692f(6).

       144.   As a result of Resolvion’s and 11th Hour’s violations of the FDCPA, Plaintiff

and the FDCPA Subclasses are entitled to actual damages, statutory damages up to

$1,000.00, and reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(1)-

(3).

                                 COUNT II
                     VIOLATIONS OF MINN. STAT. § 336.9-609
                          UNLAWFUL REPOSSESSION
                               (All Defendants)

       145.   Plaintiff restates and re-alleges the preceding allegations of this Complaint.

       146.   Plaintiff brings Count II as a Class Action on behalf of herself, the

Repossession Class, the Repossession Subclass (Resolvion), and the Repossession

Subclass (11th Hour).

       147.   At all relevant times, Ally failed to send Plaintiff and Repossession classes

the proper Cobb notice after Ally had repeatedly accepted late, partial, untimely, and

irregular payments from Plaintiff and the Repossession classes. See Cobb, 295 N.W.2d at



                                             23
         CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 24 of 29




236–7.

         148.   As a result, Defendants had no present right to possess the vehicles belonging

to the Plaintiff and the Repossession classes, as that right has been defined and limited by

Cobb. See id. at 237.

         149.   Therefore, Defendants’ self-help repossession of the vehicles belonging to

the Plaintiff and Repossession classes was conducted without compliance with Minnesota

law (i.e., in violation of Minn. Stat. § 336.9-609). See id.

         150.   As a result of Defendants’ violations of Minn. Stat. § 336.9-609, and

pursuant to Minn. Stat. § 336.9-625, Plaintiff and the Repossession classes are entitled to

actual damages, and statutory damages in the amount of the credit service charge under the

agreement plus ten percent (10%) of the principal amount of the obligation under the loan

agreement.

                                         COUNT III
                                       CONVERSION
                                       (All Defendants)

         151.   Plaintiff restates and re-alleges the preceding allegations of this Complaint.

         152.   Plaintiff brings Count III as a Class Action on behalf of herself, the

Repossession Class, the Repossession Subclass (Resolvion), and the Repossession

Subclass (11th Hour).

         153.   At all relevant times, Plaintiff and the Repossession classes were entitled to

the exclusive use, possession, and enjoyment of their vehicles.

         154.   At the time of repossession, Defendants did not have the present right to use,

take possession of, or move the property belonging to the Plaintiff and Repossession


                                               24
        CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 25 of 29




classes—in this case, their vehicles.

       155.      By unlawfully repossessing the vehicles belonging to the Plaintiff and the

Repossession classes, Defendants:

           a. Intentionally deprived, invaded, and interfered with the use, possession, and
              enjoyment of property belonging to Plaintiff and Repossession classes,
              without a claim of right;

           b. Took control and possession of vehicles belonging to the Plaintiff and
              Repossession classes without their consent;

           c. Deprived Plaintiff and the Repossession classes of the use of their vehicles;
              and

           d. Substantially intermeddled with property belonging to the Plaintiff and
              Repossession classes, without a claim of right.

       156.      Defendants converted property belonging to Plaintiff and the Repossession

classes for their own use and benefit by unlawfully repossessing their vehicles.

       157.      Defendants’ conduct was done intentionally, unreasonably and without

justification.

       158.      As a direct and proximate result of Defendants’ conversion, Plaintiff

Repossession classes have been deprived of the use and possession of their vehicles and

damaged in an amount to be determined at trial.

                       PLAINTIFF’S INDIVIDUAL ALLEGATIONS

                                    COUNT IV
                        VIOLATIONS OF MINN. STAT. § 336.9-609
                              BREACH OF THE PEACE
                                  (All Defendants)

       159.      Plaintiff restates and re-alleges the preceding allegations of this Complaint.

       160.      11th Hour, acting in its capacity on behalf of Ally and/or Resolvion, breached


                                                25
          CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 26 of 29




the peace in violation of Minn. Stat. § 336.9-609 by:

            a. gaining unauthorized access to Plaintiff’s secured and locked garage;

            b. breaking and entering into the garage through trickery, deceit,
               misrepresentations, lies, and fraud; or alternatively, by breaking into the
               garage through forcible entry; and

            c. unlawfully trespassing onto secured and locked property.

         161.   Defendants’ conduct violated Minn. Stat. § 336.9-609. See Bloomquist v.

First Nat’l Bank of Elk River, 378 N.W. 2d 81, 86 (Minn. App. 1985) (breaking and

entering debtor’s property to repossess collateral constituted a breach of the peace);

Thompson v. First State Bank of Fertile, 709 N.W. 2d 307, 311 (2006) (holding that

entering a closed building or a closed gate to repossess collateral can be a breach of the

peace).

         162.   The duty to conduct self-help repossessions without breaching the peace is a

nondelegable obligation of creditors under Minnesota law. Therefore, Ally is liable to

Plaintiff to the full extent of the liability of Resolvion’s and 11th Hour’s breach of the

peace.

         163.   As a result of Defendants’ violations of Minn. Stat. § 336.9-609, and

pursuant to Minn. Stat. § 336.9-625, Plaintiff is entitled to actual damages, and statutory

damages in the amount of the credit service charge under the Agreement plus ten percent

(10%) of the principal amount of the obligation under the loan Agreement.

         164.   As a direct and proximate result of Defendants’ breach of the peace, Plaintiff

has suffered damages in an amount to be determined at trial.




                                              26
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 27 of 29




                                       COUNT V
                                INVASION OF PRIVACY
                                    (All Defendants)

       165.   Plaintiff restates and re-alleges the preceding paragraphs of this Complaint.

       166.   Congress explicitly recognized a person’s right to privacy in financial and

collection matters in passing the FDCPA and the Gramm-Leach Bliley Act. See 15 U.S.C.

§ 1692(a) (“Abusive debt collection practices contribute . . . to invasions of individual

privacy.”); see also 15 U.S.C. § 6801(a).

       167.   Defendants intentionally and/or negligently interfered with the solitude,

seclusion, and/or private concerns or affairs of Plaintiff by: (a) breaking into Plaintiff’s

secured, and locked garage; (b) repossessing her Vehicle through breaching the peace,

including gaining unauthorized access to Plaintiff’s Vehicle; and (c) by informing third-

parties that Plaintiff’s vehicle could be lawfully repossessed as a result of non-payment.

       168.   Plaintiff had a reasonable expectation of privacy in her solitude, seclusion,

private concerns, private affairs, and financial information.

       169.   Defendants’ above-described conduct resulted in multiple intrusions and

invasions of Plaintiff’s privacy.

       170.   The intrusions and invasions of Plaintiff’s privacy occurred in a way that

would be highly offensive to a reasonable person in Plaintiff’s position.

       171.   Defendants intentionally and/or negligently caused emotional harm to

Plaintiff by engaging in highly offensive conduct in the course of collecting any alleged

debt or secured interest, thereby invading, and intruding upon Plaintiff’s rights to privacy.

       172.   As a result of Defendants’ conduct, Defendants invaded Plaintiff’s privacy


                                             27
       CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 28 of 29




and right to financial privacy.

       173.   As a direct and proximate result of Defendants’ invasion of privacy, Plaintiff

has suffered damages in an amount to be determined at trial.

                                    JURY DEMAND

       174.   Plaintiff is entitled to and hereby demands a trial by jury. See U.S. Const.

amend. VII; Fed. R. Civ. P. 38.

       WHEREFORE, Plaintiff Patricia Freeman demands a trial by jury and prays for

judgment against Defendants Ally Financial Inc. d/b/a Ally Financial, Resolvion, LLC,

and 11th Hour Recovery, Inc. as follows:

   1. Awarding judgment against Defendants in an amount to be determined at trial;

   2. Certifying the Repossession Class, Repossession Subclass (Resolvion),
      Repossession Subclass (11th Hour), FDCPA Subclass (Resolvion), and FDCPA
      Subclass (11th Hour) as described herein;

   3. Awarding Plaintiff actual damages, statutory damages, and reasonable attorneys’
      fees and costs pursuant to 15 U.S.C. §§ 1692k(a)(1)–(3) against Resolvion and 11th
      Hour;

   4. Awarding the FDCPA subclasses actual damages, statutory damages, and
      reasonable attorneys’ fees and costs pursuant to 15 U.S.C. §§ 1692k(a)(1)–(3)
      against Resolvion and 11th Hour;

   5. Awarding Plaintiff actual damages and statutory damages under Minn. Stat. §
      336.9-625 against Defendants;

   6. Awarding the Repossession Class and the Repossession subclasses actual damages
      and statutory damages under Minn. Stat. § 336.9-625 against Defendants;

   7. Awarding Plaintiff damages against Defendants caused by Defendants’ conversion
      of Plaintiff’s property;

   8. Awarding the Repossession Class and Repossession subclasses damages against
      Defendants caused by Defendants’ conversion of such class members’ property;


                                            28
   CASE 0:20-cv-01241-WMW-HB Doc. 31 Filed 08/07/20 Page 29 of 29




9. Awarding Plaintiff, the Repossession Class, Repossession Subclass (Resolvion),
   Repossession Subclass (11th Hour), FDCPA Subclass (Resolvion), and FDCPA
   Subclass (11th Hour) any costs, litigation expenses, disbursements, and allowable
   attorneys’ fees; and

10. Awarding Plaintiff, the Repossession Class, Repossession Subclass (Resolvion),
    Repossession Subclass (11th Hour), FDCPA Subclass (Resolvion), and FDCPA
    Subclass (11th Hour) such other and further relief as the Court deems proper, just
    and equitable.


                                             TARSHISH CODY, PLC

   Dated: August 7, 2020               By:   s/ Adam R. Strauss
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                                        29
